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                                             Exhibit B
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From:              Moon, Allison (USAUT)
To:                phil@lymancpa.com
Bcc:               Mangum, John (USAUT)
Subject:           RE: Request for Tax Returns per Court Order
Date:              Monday, August 10, 2020 3:05:00 PM
Attachments:       Letter re Intent to File MOSC.pdf
                   286 - Order Denying Motion to Amend Payment Schedule.pdf
                   Motion for Order to Show Cause.pdf
                   Ex. A - 7.7.2020 Email to Mr. Lyman.pdf


Mr. Lyman,

Attached please find the United States’ second request that you comply with the Court’s order of
October 21, 2019 by producing your 2017, 2018, and 2019 tax returns. Hard copies will follow by
mail.

Best Regards,
                          Allison J.P. Moon
                          Assistant U.S. Attorney
                          Financial Litigation Unit
                          & Bankruptcy
                          111 South Main St, Ste 1800
                          Salt Lake City, UT 84111-2176
                          Direct: (801) 325-3319
                          allison.moon@usdoj.gov




From: Moon, Allison (USAUT)
Sent: Tuesday, July 07, 2020 6:32 PM
To: phil@lymancpa.com
Subject: Request for Tax Returns per Court Order

Hello Mr. Lyman,

As you may recall, last October the U.S. District Court ordered you to provide your returns from tax
years 2017, 2018, and 2019 to the Court and the U.S. Attorney’s Office no later than May 1, 2020
(order attached). As I’m sure you know, the IRS extended the filing and payment deadline to July 15,
2020, due to the COVID-19 pandemic. I therefore request that you provide your returns to the Court
and to this office no later than August 1, 2020. If you request an extension, please provide proof that
you requested and received an extension. Thank you.

Best Regards,
                          Allison J.P. Moon
                          Assistant U.S. Attorney
                          Financial Litigation Unit
                          & Bankruptcy
                          111 South Main St, Ste 1800
                          Salt Lake City, UT 84111-2176
                          Direct: (801) 325-3319
